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 3
 4                         UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF CALIFORNIA
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     JOHN GARCIA,                            No. 1:07-CV-00867 OWW/DLB
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                 Plaintiff,                  AMENDMENT TO MEMORANDUM
 9         v.                                DECISION RE COUNTY
                                             DEFENDANTS’ MOTION FOR
10   CITY OF MERCED, CITY OF MERCED          SUMMARY JUDGMENT (Doc. 90)
     POLICE DEPARTMENT, BUREAU OF
11   NARCOTICS ENFORCEMENT SPECIAL
     AGENT SUPERVISOR ALFREDO
12   CARDWOOD, et al.,
13               Defendant.
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           The Memorandum Decision Re: County Defendants’ Motion for
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     Summary Judgment (Doc. 90) filed September 25, 2009, is amended by:
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           1.    Inserting “first prong of the” at page 41, line 22,
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     between “The” and “qualified.”
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           2.    Deleting lines 17 through 23 from page 44 and inserting:
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     “As to Plaintiff’s stop and detention, after viewing the entirety
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     of the evidence, drawing all inferences in Plaintiff’s favor,
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     Defendant is not entitled to qualified immunity. Disputed material
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     facts remain concerning Deputy Taylor’s alleged wrongful conduct
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     under the Fourth Amendment. To be clear, Defendant is not entitled
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     to   summary   adjudication   under   either   prong   of   the   qualified
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     immunity analysis.       See Hopkins v. Bonvicino, 573 F.3d 752, 763
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     (9th Cir. 2009) (“[A] trial court should not grant summary judgment
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     [on qualified immunity] when there is a genuine dispute as to the
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     facts and circumstances within an officer's knowledge or what the
        Case 1:07-cv-00867-OWW-DLB Document 101 Filed 10/01/09 Page 2 of 2


 1   officer and claimant did or failed to do.”)(internal quotation
 2   marks omitted). As to the second prong, the “relevant, dispositive
 3   inquiry ... is whether it would be clear to a reasonable officer
 4   that his conduct was unlawful in the situation he confronted.”
 5   Conn v. City of Reno, 572 F.3d 1047, 1062 (citing Saucier, 533 U.S.
 6   194,   201).      Fourth   Amendment   jurisprudence    clearly     prohibits
 7   seizing individuals without reasonable suspicion or probable cause,
 8   Terry v. Ohio, 392 U.S. 1; Tarr v. Maricopa County, 256 F. App’x
 9   71, 73 (9th Cir. 2007), and making fraudulent or omitting material
10   statements in an application for a search warrant, Franks v.
11   Delaware, 438 U.S. 154 (1978); Lombardi v. City of El Cajon, 117
12   F.3d 1117 (9th Cir. 1997). Accepting Plaintiff’s version of events
13   as true, there is a triable issue as to whether the Task Force
14   Agents   seized    Plaintiff    without    probable   cause   or   reasonable
15   suspicion and whether Deputy Taylor made fraudulent statements
16   and/or omitted material information in an application for the
17   search warrant at issue. It would be clear to a reasonable officer
18   that   such    conduct,    if   it   occurred,   is   unlawful.       Summary
19   adjudication is DENIED.”
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21   SO ORDERED
22   Dated: October 1, 2009                     /s/ Oliver W. Wanger
23                                              Oliver W. Wanger
                                                United States District Judge
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